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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF IOWA
                                    CENTRAL DIVISION

JASON CARTER,

             Plaintiff,                                    4-19-CV-401-CRW-CFB

, vs.
                                                                  ORDER
MARK D. LUDWICK, Agent of
Iowa Dep't of Criminal Investigation, in his
Individual capacity; MARION COUNTY,
IOWA; REED KIOUS, Marion County
Deputy Sheriff, in his individual capacity; and
BILLY GENE CARTER,

              Defendants.

               Plaintiff Jason Carter has filed a six-count second amended complaint, asserting

in each count claims against some of or all the defendants. Counts I, II, III, and VI assert false

arrest and due process claims brought pursuant to 42 U.S.C. section 1983. Count N (malicious

prosecution) and Count V (abuse of process) are brought under Iowa State law.

               On August 11, 2020, the court held oral argument on the defendants' resisted

motions to dismiss (Dkt. #31, 32, 33). The Court now grants the motions. Although matters

outside the pleadings have been presented to the Court, the Court has not converted these

motions to summary judgment motions, concluding that the materials-including, for example,

an arrest warrant, a court transcript, and a jury verdict- are "necessarily embraced by the

complaint." See Enervations, Inc. v. 3M, 380 F.3d 1066, 1069 (8 th Cir. 2004).

               Plaintiff Jason Carter's claims in this federal lawsuit arise from two Iowa district

court trials, one a civil case presently on appeal in which a jury awarded defendant Billy Gene

Carter a large judgment against Jason Carter for causing the death of Jason's mother, Billy

Gene's wife; the other a criminal murder trial resulting in the jury's acquittal of Jason Carter.
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      The Court concludes that plaintiffJason Carter seeks in this action to undermine the Iowa civil .

      judgment against him.
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                       . · Every theory                                    for recovery pleaded by plaintiff in this federal law:suit has been raised
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      or could have been raised by him in the Iowa trials, so in essence, he is asking this federal court
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. · · to cancel the Iowa civil judgment against him. ·A federal district court has no federal jurisdiction
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     . over cases like this brought by state~court losing parties~ like Jason Carter, to defeat a State court
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.··. j'µdgment rendered prior t() the federai lawsui( See Exxon Mobile Corp. v. Saudi Basic Indus. ·

      Corp.; 544 U.S. 280,292 (2005)(explaining the Rooker-Feldman doctrine that federal district

      ·courts· are precluded from exercising gubj ect-matter jurisdiction in cases seeking review and .

      rejection of state courtjudgnients). ·.· .

                                   . This Court facks,subject- matter jurisdiction over thisiawsuit, now dismissed with

    . prejudice, at plaintiff's. cost.

                                       ITIS SO ORDERED.

                               • Datedthis. 26th day.of August, 2020.




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                                                                                                                                                      CHARLES R. WOLLE,· JUDGE.                                                                      .            .
                                                                                                                                                      U.S. DIS.TRICT COURT
